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Dear Judge Walton,

My name is Hussen Tajideen, | am Kassim Tajideen’s youngest son. | am 33 years old and have
been working closely with my dad on all his legal affairs in the United States since 2010, which includes
his delisting attempt with OFAC and this criminal case. Although | am not a lawyer, | am a member of his
current defense team in this criminal case and | am the last member of the family to have seen him in
person after flying out to Morocco in March 2017 following the news of his arrest.

Although my father has relied heavily on my help during the course of this criminal case and our
delisting attempt with OFAC, my relationship with him has not always been an easy one. This is partly
because he was always traveling when | was younger but also because he has difficulties with
sentimental expression. | only saw this after | became an adult and as a result, our relationship improved
tremendously. Up till that point, most of what I learned from him were therefore not explicit life lessons
but rather came in the form of stories my family would tell me or through his actions that | observed
first hand. Today, | want to share with you a story about his most significant action | experienced with
him.

In 2009, | moved to London to complete a Master’s degree, he went to visit me to see how | was doing.
After his departure, he left a note in my apartment along with a bottle of his perfume, his praying beads
and a pair of his socks. The note expressed his pride and love he felt towards me for doing my Master’s
degree but could not put in words in a face-to-face conversation. He wrote that he left me his perfume
so that | would always be able to smell him, when he was not there. Since | always complained about
being cold, he left me his socks to keep me warm in his absence. Finally, he left me his praying beads, to
remember to pray because he has always had to remind me to keep praying. Never did | receive a note
that was so touching. This small gesture taught me that the nicest gestures were not material but
sentimental, this is why he gave me that bottle of perfume which | still possess. | also learned that the
most precious gifts were not the ones that were wanted but the ones that were needed, which is why
he left me his praying beads. Finally, looking back at this now that | am also a father, | can see that he
was worried about how | would cope living alone in a big city but | had reached a certain age where |
had to do it alone without being mothered or fathered. As much as he wanted to hold my hand through
it, he wanted me to do it alone but without forgetting him. This is why he gave me the socks, he wanted
me to keep warm on my own but to remember him in the process as well as who we are and where we
came from.

My father came from humble beginnings, growing up in extreme poverty. He was the eldest boy of 15
siblings, 2 of whom passed away at child birth and 1 of whom passed away at the age of 6 because he
could not survive the tough conditions they grew up under. He did not sleep full nights whilst he
balanced work and school, merely dozing off during the breaks during the day and at night. He did not
eat full meals, instead eating the food and drinking the water that his younger siblings left behind. He
did not always own a pairs shoes and he befriended the family cow which he was responsible for looking
after at the tender age of 7. He grew up in difficult circumstances but to me the most remarkable story
is the following: When my father was 4 or 5, my grandfather was trying to fix his taxi whilst there was a
power cut. My grandfather typically did this in the middle of the night, because he could not afford to
miss out on the day fares. As a result, my father had te hold the candle out whilst his father did the
repairs. My father dozed off whilst holding the candle and dropped it on the grease-filled floor and the
fire rapidly spread onto my greasy grandfather. Luckily, my grandfather quickly ran into a nearby sand-
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filled ditch and rolled around and no major damage was done. There are many other stories about my
father which are equally as astounding as this one but my father is too humble to tell them to people
himself. | chose to share this story with you to show you how my father was forced to learn about
responsibility and hard work from a young age. Regardless of the wealth he has amassed, he abides by
these core principles in his life.

Honorable judge, | wanted to write this letter because in the process of looking at the discovery and
reading through the court transcripts my father was painted in the wrong light. My father is not the
greedy businessman who has no respect for the United States government. He is a humble person with
integrity who believes in an honest day’s work. His life story and life lessons are what the American
dream is about.

Humbly yours from a proud son,

Hussen Tajideen

 
